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                          UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF TEXAS

CRAIG CUNNINGHAM,                    §
Plaintiff,                           §
                                     §
v.                                   §
                                     §
Channer, LLC, Jerome Davis, National § Civil Case No.: 3:17-CV-546-L
Debt Assistance, Plain Green LLC     §
Defendants.                          §
                                     §
                                     §
                                     §




    AGREED MOTION OF DISMISSAL WITH PREJUDICE AS TO PLAIN GREEN ONLY


       Now comes Plaintiff, through undersigned counsel, and hereby dismisses, with prejudice, all

causes of action and claims only as to defendant against Defendant, Plain Green, LLC. Each party to

bear its own fees and costs.

       RESPECTFULLY SUBMITTED AND DATED this 2nd day of August, 2017.

                                                    Respectfully submitted:


                                                  /s/ Aaron Mulvey
                                                  Aaron Mulvey
                                                  Law Offices of Aaron K. Mulvey, PLLC
                                                  518 N. Manus Dr.
                                                  Dallas, TX 75224
                                                  aaron@mulveylaw.net
                                                  Attorney for Craig Cunningham
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                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed through the Court’s

electronic filing system which will notify all counsel of record on this 2nd day of August, 2017.

                                                          /s/ Aaron Mulvey
                                                          Aaron Mulvey
                                                          Attorney for Craig Cunningham
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                                                   Certificate of Conference

      On August 1, 2017, the counsel of parties conferred pertaining to the substance of this motion. Opposing counsel

 stated that he is not opposed to this motion and is in agreement with it.




Dated: August 1, 2017



                                                                /s/ Aaron K. Mulvey__________

                                                                Aaron K. Mulvey
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